                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA



UNITED STATES OF AMERICA,

       Plaintiff,

       v.                                           CIVIL NO. 2:22-cv-00709-MSG

THE UNIFIED JUDICIAL SYSTEM OF
PENNSYLVANIA, THE SUPREME
COURT OF PENNSYLVANIA, THE
BLAIR COUNTY COURT OF COMMON
PLEAS, THE LACKAWANNA COUNTY
COURT OF COMMON PLEAS, THE
JEFFERSON COUNTY COURT OF
COMMON PLEAS, and THE
NORTHUMBERLAND COUNTY COURT
OF COMMON PLEAS,

       Defendants.


                               JOINT MOTION TO DISMISS

       Pursuant to Federal Rule of Civil Procedure 41(a)(2) and in accordance with the terms of

the Settlement Agreement attached as Exhibit “A,” the United States, the Unified Judicial

System of Pennsylvania, the Blair County Court of Common Pleas, the Lackawanna County

Court of Common Pleas, the Jefferson County Court of Common Pleas, and the Northumberland

County Court of Common Pleas jointly move to dismiss this civil action without costs to any

party and without prejudice to any claim by any party for breach of the Agreement. See Ex. A at

¶¶ 29–30.
RESPECTFULLY SUBMITTED:

FOR THE UNITED STATES OF AMERICA:

JACQUELINE C. ROMERO                           REBECCA B. BOND
United States Attorney                         Chief
Eastern District of Pennsylvania
                                               /s/ David W. Knight
GREGORY B. DAVID                               KEVIN KIJEWSKI
Assistant United States Attorney               Deputy Chief
Chief, Civil Division                          DAVID W. KNIGHT
                                               ADAM F. LEWIS
CHARLENE KELLER FULLMER                        Trial Attorneys
Assistant United States Attorney               Disability Rights Section
Deputy Chief, Civil Division                   Civil Rights Division
                                               U.S. Department of Justice
MICHAEL J. BUTLER                              150 M Street NE
Special Assistant United States Attorney       Washington, D.C. 20530
                                               Telephone: 202-307-0663
LAUREN DEBRUICKER                              David.Knight@usdoj.gov
Assistant United States Attorney               Adam.Lewis@usdoj.gov
Deputy Civil Chief for Civil Rights
United States Attorney’s Office                2/1/2024________
Eastern District of Pennsylvania               DATE
615 Chestnut Street, Suite 1250
Philadelphia, PA 19106
Telephone: 215-861-8492
Michael.J.Butler@usdoj.gov
Lauren.DeBruicker@usdoj.gov

For the Unified Judicial System of Pennsylvania, the Blair County Court of Common Pleas, the
Lackawanna County Court of Common Pleas, the Jefferson County Court of Common Pleas, and
the Northumberland County Court of Common Pleas:

  /s/Robert J. Krandel/rjk                    2/1/2024
__________________________________            _________________
ROBERT J. KRANDEL                             DATE
Attorney I.D. No. PA89485
GERI ROMANELLO ST. JOSEPH
Attorney I.D. No. PA84902
Supreme Court of Pennsylvania
Administrative Office of PA Courts
1515 Market Street, Suite 1414
Philadelphia, PA 19102
legaldepartment@pacourts.us
(215) 560-6326, Fax: (215) 560-5486
                                CERTIFICATE OF SERVICE

       I hereby certify that on this date I caused a true and correct copy of the foregoing Joint

Motion to Dismiss to be served via Electronic Case Filing (ECF) upon the following:

                                   Robert J. Krandel, Esq.
                                   Geri R. St. Joseph, Esq.
                              Supreme Court of Pennsylvania
                         Administrative Office of Pennsylvania Courts
                               1515 Market Street, Suite 1414
                                   Philadelphia, PA 19102
                                     Counsel for Defendants



                                                   /s/ Lauren DeBruicker
                                                   LAUREN DeBRUICKER
                                                   Assistant United States Attorney

Dated: _2/1/2024______
